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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO


United States of America

                                 Criminal No. 3:08-cr-36-04-PJB

Jorge Velasco Mella



                               O R D E R

     Defendant Jorge Velasco Mella moved for access of the data

corresponding to the selection of petit and grand juries in the

District of Puerto Rico pursuant to 28 U.S.C. § 1867 (b).             (Dkt.

No. 187.)   The government did not oppose said motion. (Dkt. No.

207).   The court ordered that specifically identified data be

delivered to Mr. Velasco Mella’s expert.        (Dkt. Nos. 306 and

307.)   The court also ordered the parties to confer in order to

agree upon the terms of a joint protective order which shall

govern the manner in which the data is delivered and maintained.

Mr. Velasco Mella has, in the interim, proposed that the

government be permitted to have equal and simultaneous access, if

it so desires, so as not to delay the filing of any motions

relating to jury selection.
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     The parties have conferred in accordance with Dkt. Nos. 306

and 307 with regard to the receipt by expert(s) of the jury

selection data.   They have agreed to the following terms.            The

court hereby approves these terms relating to the analysis of the

data and orders the Clerk of the Court to comply by utilizing a

secure courier service or the Express Mail service of the U.S.

Postal Service to deliver the data to the expert(s).

     (1)   Experts shall maintain the CDs in secure locations

limited to their homes and offices;

     (2)   Access to the CDs and the information contained therein

is limited to the persons identified herein, specifically, Mr.

Velasco Mella, his expert, William B. Fairley, Ph.D. President,

Analysis and Inference, Victoria Mills, 1489 Baltimore Pikes,

Suite 305, Springfield, PA 19064, the United States, its

attorneys and its respective expert, to be identified by

Informative Motion at a future date, if necessary;

     (3)   Copies of any portion of the CDs shall be made without

prior court approval but Informative Motions describing what has

been copied or printed shall be filed on December 15, 2008, and

January 20, 2009, by Velasco Mella and/or by the United States;



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      (4)   Information contained in the CDs shall not be used for

any other purpose other than to investigate a potential challenge

to the jury selection system under 28 U.S.C. § 1867(b);

      (5)   Copies of the CDs as well as any records containing

extracts of information obtained from the CDs shall be returned

to the Clerk’s Office once any motion challenging the jury

selection system is resolved by the District Court or a decision

is made by the defendant not to pursue such a challenge.

      SO ORDERED.



                                           /s/Paul Barbadoro
                                           Paul Barbadoro
                                           United States District Judge
                                           Sitting by Designation


October 21, 2008

cc:   Counsel of Record




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